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                                                           April 03, 2023
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                                                       WESTERN DISTRICT OF TEXAS

                                                              Jennifer Clark
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